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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA

LYNK LABS, INC.,                        )
                                        )
                      Plaintiff,        )
                                        )
v.                                      ) Case No. 1:21-cv-5021
                                        )
HOME DEPOT USA, INC.,                   )
THE HOME DEPOT, INC., and               )
HOME DEPOT PRODUCT                      )
AUTHORITY, LLC                          )

                                   JOINT STATUS REPORT

       Pursuant to this Court’s January 25, 2024 Order [D.I. 91], Plaintiff Lynk Labs, Inc. (“Lynk

Labs”) and Defendants Home Depot USA, Inc., The Home Depot, Inc. and Home Depot Product

Authority, LLC (collectively, “Home Depot”) submit this Joint Status Report to update the Court

regarding the inter partes review and post-grant review proceedings (collectively, the “post-grant

actions”) pending before the U.S. Patent & Trademark Office (“USPTO”) challenging the validity

of Lynk Labs’ asserted patent claims:


              The USPTO invalidated all asserted claims from U.S. Patent Nos. 10,757,783,

               10,349,479 (“the ’479 Patent”), 10,154,551, 10,492,251, 10,091,842, 10,537,001

               (“the ’001 Patent”) and 10,517,149 – in Final Written Decisions in the post-grant

               actions. Lynk Labs either did not appeal these decisions, or the appeals have now

               been dismissed.

              The USPTO invalidated all previously asserted claims from U.S. Patent No.

               10,932,341 in PGR2022-00009. The Federal Circuit affirmed the USPTO’s ruling

               per curiam. Lynk Labs, Inc. v. Home Depot U.S.A., Inc., No. 23-2185 (Fed. Cir.

               Jan. 14, 2025).
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              The USPTO invalidated asserted claims 7, 9, 10, and 11 and sustained asserted

               claim 13 from U.S. Patent No. 10,652,979 (the ’979 Patent”) in IPR2021-01576

               between Lynk Labs and Samsung Electronics. Both Lynk Labs and Samsung

               Electronics filed appeals of the USPTO’s final written decision in IPR2021-01576,

               which appeals have now been dismissed.

              Home Depot separately appealed the USPTO’s determination in IPR2022-00023

               sustaining unasserted claim 2 of U.S. Patent No. 10,517,149 to the Federal Circuit

               Court of Appeals, and the Court in that case reversed the USPTO, finding that claim

               2 was invalid. See Home Depot U.S.A., Inc. v. Lynk Labs, Inc., No. 23-2151, 2025

               WL 816240 (Fed. Cir. March 14, 2025).


       The parties jointly request that the Court schedule a status conference to address issues

remaining between the parties, including Lynk Labs’ ability to add to this lawsuit previously

unasserted claims that were unaffected by the various post-grant actions.


       Lynk Labs’s Position: Lynk Labs was originally constrained as to the number of claims it

could assert due to the limitation on the number of claim terms allowed for construction pursuant

to the Standing Order Governing Proceedings (OGP) 4.3 - Patent Cases in the Western District of

Texas where this matter was originally brought prior to transfer. As there is no similar limit in this

Court, Lynk Labs intends to move forward with the following claims: claim 6 of the ’479 Patent,

claim 14 of the ’001 Patent, and claim 2 of the ‘783 Patent pursuant to N.D. Ga. Pat. R. 4.5(b).
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Lynk Labs withdraws all claims previously asserted.1 Lynk Labs also reserves the right pursuant

to that Rule to add additional claims as additional discovery is made available in this matter.


       Home Depot’s Position: Lynk Labs’ reliance on the Western District of Texas (“WDTX”)

claim construction rules for its decision not to originally assert certain claims from the patents-in-

suit is baseless and should be rejected. There are no limits on the number of claims that Lynk Labs

could have asserted when the case was in the WDTX, and indeed Lynk Labs originally asserted

41 claims from 9 separate patents in its WDTX infringement contentions in 2021. Moreover, Lynk

Labs’s reliance on the “presumed limits” on the number of claims to be construed in WDTX is

disingenuous, as it did not even seek to construe all allowed terms in its claim construction briefing.


       Under the WDTX Order Governing Proceedings (OGP), Lynk Labs would not be allowed

to add patent claims without leave of court and unless the request to add claims was “based on

material identified after [] preliminary contentions were served” and was done “seasonably upon

identifying any such material.”       Similarly, this Court’s local patent rule 4.5(b) addresses

supplementing or amending contentions based on information obtained during discovery – not the

wholesale withdrawal of all originally asserted claims in light of their invalidation, and the

substitution of new claims (which certainly could have been identified in Lynk Labs’ infringement

contentions) years later.


       Home Depot filed inter partes review and post-grant review petitions before the USPTO

covering all originally asserted claims in Lynk Labs’ WDTX infringement contentions from eight


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  N.D. Ga. Pat. R. 4.5(b) provides that “[e]ach party’s Disclosures or Response shall be
supplemented or amended pursuant to the rules for supplementation and amendment of discovery
responses generally provided for under the Federal Rules of Civil Procedure.” See N.D. Ga. Pat.
R. 4.5(b). As fact discovery would still be open when the stay currently in place is lifted, Lynk
submits that it would be able to supplement under the provisions of the Federal Rules.
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Lynk Labs patents,2 and successfully invalidated all those claims. Lynk Labs’s proposal to add

new claims (claim 6 of the ’479 Patent, claim 14 of the ’001 Patent, claim 2 of the ’783 Patent,

and potentially other claims) after five years of litigation in district court and before the USPTO is

highly prejudicial and should not be allowed. Lynk Labs’ proposed amendment is likely futile in

any case, since these additional claims are invalid like all 41 originally asserted claims.


                                                       Respectfully submitted,


    DATED: May 23, 2025                              /s/ James A. Shimota
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 Samsung, not Home Depot, filed an IPR petition on the ’979 patent, and succeeded in
invalidating the majority of those claims. Lynk Labs does not propose moving forward with any
claims from the ’979 Patent.
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